Case 3:19-cr-00349-K Document 1 Filed 07/24/19   Page 1 of 8 PageID 1
Case 3:19-cr-00349-K Document 1 Filed 07/24/19   Page 2 of 8 PageID 2
Case 3:19-cr-00349-K Document 1 Filed 07/24/19   Page 3 of 8 PageID 3
Case 3:19-cr-00349-K Document 1 Filed 07/24/19   Page 4 of 8 PageID 4
Case 3:19-cr-00349-K Document 1 Filed 07/24/19   Page 5 of 8 PageID 5
Case 3:19-cr-00349-K Document 1 Filed 07/24/19   Page 6 of 8 PageID 6
Case 3:19-cr-00349-K Document 1 Filed 07/24/19   Page 7 of 8 PageID 7
     Case 3:19-cr-00349-K Document 1 Filed 07/24/19        Page 8 of 8 PageID 8

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION



                           THE UNITED STATES OF AMERICA

                                              v.

                                   ROMELIO RIVERON



                                       INDICTMENT

                            18 U.S.C. § 1956(a)(l)(A)(i) and (h)
                        Conspiracy to Launder Monetary Instruments
                                         (Count 1)

                                       18 U.S.C. § 982
                                      Forfeiture Notice




A true bill rendered



DALLAS

Filed in open court this   ;;tj day of July, 2019.
Warrant to be Issued




                             ~~~~'
                             No Criminal Matter Pending
